Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


    IN RE: FTX CRYPTOCURRENCY            No: 1:23-md-03076-KMM
    EXCHANGE COLLAPSE LITIGATION
                                         MDL No. 3076



    This Document Relates To:

    GARRISON V. BANKMAN-FRIED
    No. 22-cv-23753-MOORE/BECERRA




       PRELIMINARY REPORT BY DEFENDANTS THOMAS BRADY, GISELE
     BÜNDCHEN, STEPHEN CURRY, LAWRENCE GENE DAVID, GOLDEN STATE
    WARRIORS, LLC, UDONIS HASLEM, WILLIAM TREVOR LAWRENCE, SHOHEI
   OHTANI, KEVIN O’LEARY, SHAQUILLE O’NEAL, DAVID ORTIZ, NAOMI OSAKA,
                       AND SOLOMID CORPORATION
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 2 of 11




            The filing parties (collectively, the “Sports and Entertainer Defendants”) are eight current

   or former professional athletes, a professional basketball team, a model, a television personality,

   an e-sports organization, and a comedian, all of whom allegedly participated in or displayed

   advertisements promoting FTX. Plaintiffs seek to hold the Sports and Entertainer Defendants liable

   for losses they allegedly suffered from transactions on the FTX platform. Each filing party is a

   defendant in only one active matter referred to in this MDL, namely, Garrison v. Bankman-Fried.1

            Background. FTX, a now-defunct cryptocurrency platform, collapsed in November 2022

   after it failed to meet cash demands and was publicly accused of illegally transferring billions of

   dollars in customer funds to an affiliated entity, Alameda Research LLC. On November 11, 2022,

   FTX entered bankruptcy proceedings. Its former CEO, Sam Bankman-Fried, has been charged

   with multiple federal crimes, and several officers, including former CEO of Alameda Carolyn

   Ellison, former chief technology officer Gary Wang, and former engineering director Nishad

   Singh, have pleaded guilty to federal fraud charges. Prior to its collapse, FTX was lauded as “the

   leading digital assets exchange.”2 Unbeknownst to the hundreds of individuals and companies that

   interacted with FTX during its three+ years of operation3—including members of Congress, non-



   1
       Three defendants are also named in Norris v. Brady, 23-md-03076 (S.D. Fla.), which is stayed

   pending resolution of Garrison.
   2
       https://www.samsungnext.com/blog/why-we-invested-in-ftx.
   3
       FTX operated primarily from the Bahamas, with its U.S. headquarters in Chicago. While FTX

   may have planned to relocate its U.S. headquarters to Miami in late October 2022, that never

   occurred.    See   https://www.miaminewtimes.com/news/ftxs-miami-leases-axed-in-bankruptcy-

   court-deal-16098680. Plaintiffs emphasize FTX’s purported Florida contacts, but identify only a

   single employee of a related company who actually worked from Florida.
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 3 of 11




   profits, and the Sports and Entertainer Defendants here—FTX executives concealed their secret

   fraud from both other FTX individuals and outsiders alike.

             Plaintiffs initiated this action on November 15, 2022.4 Plaintiffs allege that, in 2021 and

   2022, the Sports and Entertainer Defendants engaged in advertising or promotion efforts on behalf

   of the FTX brand and platform, pursuant to individual agreements between FTX and each

   individual Sports and Entertainer Defendant. Plaintiffs further allege that the Sports and

   Entertainer Defendants’ various “advertising” efforts make them responsible, under assorted state

   law theories, including state securities laws, state unfair competition laws, aiding and abetting, and

   civil conspiracy, for losses plaintiffs suffered through investing in various products offered by

   FTX. See generally Garrison ECF 205 (SAC) ¶¶ 233-776.5

             Plaintiffs have amended their complaint twice—first on December 16, 2022, and then on

   May 15, 2023, in response to the Sports and Entertainer Defendants’ initial motions to dismiss,

   filed on April 14, 2023. The MDL entered its transfer order on June 5, 2023. ECF 1. Two days

   later, the Court stayed the Garrison proceeding, Garrison ECF 226, as well as the briefing schedule

   for the Sports and Entertainer Defendants’ motions to dismiss, ECF 10. On June 15, 2023, the

   Court sua sponte consolidated for pretrial purposes Garrison and five actions transferred from the




   4
       Plaintiffs filed a series of state law cases, which they dismissed in favor of Norris, which was

   then removed to federal court and stayed. Norris ECF 48. Plaintiffs also filed two additional federal

   cases—Kavuri v. Bankman-Fried, No. 22-cv-23817 (S.D. Fla.), and Podalsky v. Bankman-Fried,

   No. 22-cv-23983 (S.D. Fla.)—which were consolidated with Garrison sua sponte by the Court.
   5
       “ECF” citations are to the docket in this proceeding. References to other proceedings include the

   initial plaintiff’s name and the ECF number, e.g., “Garrison ECF 205.”

                                                      2
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 4 of 11




   Northern District of California. ECF 1, 16.6

             Proposed Tracking and Key Legal Issues. The Sports and Entertainer Defendants

   respectfully suggest that there are unique aspects to the claims against them not present in the other

   transferred matters, including the Lam Cases—with the possible exception of Garrison v. Paffrath,

   23-cv-21023 (S.D. Fla.)7—and that the claims against the Sports and Entertainer Defendants

   should proceed in a separate pleading and a separate track from the claims against FTX employees,

   financial institutions, accountants, and advisors.

             In particular, unlike the FTX employees, financial institutions, accountants, or financial

   advisors involved in the other transferred cases, the Sports and Entertainer Defendants are alleged

   to be liable not because of specific actions each allegedly took to further FTX’s fraud, but rather

   because each allegedly entered into an ordinary agreement with FTX and promoted the FTX brand

   pursuant to that agreement. See generally Garrison SAC ¶¶ 233-776. Plaintiffs allege that

   promoting the FTX brand is equivalent to “selling securities” under three states’ securities laws

   (Florida, California, and Oklahoma), and that it also creates liability under those states’ unfair




   6
       These cases are Lam v. Bankman-Fried, et al., No. 3:22-07336 (N.D. Cal.), Pierce v. Bankman-

   Fried, et al., No. 3:22-07444 (N.D. Cal.), Hawkins v. Bankman-Fried, et al., No. 3:22-07620 (N.D.

   Cal.), Jessup v. Bankman-Fried, et al., No. 3:22-07666 (N.D. Cal.), and Papadakis v. Bankman-

   Fried, et al., No. 3:23-00024 (N.D. Cal.) (collectively, the “Lam Cases”).
   7
       The Paffrath complaint alleges similar legal theories, under Florida law only, to the Garrison v.

   Bankman-Fried complaint, but is pleaded against online “influencers”: individuals alleged to have

   promoted FTX and FTX products via YouTube and other social media platforms. The conduct

   pleaded as to these defendants is different from that pleaded with respect to the Sports and

   Entertainer Defendants, but there may be common questions of law with respect to the two cases.

                                                        3
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 5 of 11




   competition laws, as well as under aiding and abetting fraud, aiding and abetting conversion, and

   civil conspiracy theories. See generally id. ¶¶ 672-776. Despite the fact that plaintiffs do not allege

   any Sports and Entertainer Defendant ever mentioned the Yield Bearing Accounts (“YBAs”) or

   the FTX Token (“FTT”) allegedly offered by FTX and purchased by some plaintiffs, id. ¶¶ 233-

   654, plaintiffs also seek a declaration that YBAs, FTT, and the FTX exchange (i.e., the company

   itself) were securities required to be registered with federal and state authorities. Id. ¶¶ 708-15.

             The primary legal issues with respect to the claims against the Sports and Entertainer

   Defendants are whether, and in what circumstances, these legal theories can be applied to

   individuals and entities who entered into agreements with a company that was later revealed to be

   engaging in fraud behind closed doors. These issues are different from, and unrelated to, questions

   of law and fact in the other actions. While the Sports and Entertainer Defendants anticipate that—

   should plaintiffs’ claims proceed beyond the motion to dismiss stage—some discovery will be

   needed from FTX (in bankruptcy) and former FTX employees, discovery needed from FTX

   advisors, financial firms, and accountants is likely to be minimal at most. Claims against the Sports

   and Entertainer Defendants should thus proceed separately, with coordination with respect to FTX

   and FTX employee discovery only.8

             Proposed Schedule and Pending Motions. The Sports and Entertainer Defendants intend

   to file renewed motions to dismiss and propose that, to the extent the Court authorizes plaintiffs to

   file a consolidated complaint or set of complaints, it set a date by which such complaint(s) must

   be filed and a schedule for briefing the motions to dismiss consistent with the briefing schedule

   originally entered in Garrison. See Garrison ECF 207.

             At the time the Garrison case was transferred into the MDL, the Sports and Entertainer


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       Certain Sports and Entertainer Defendants also assert there is a lack of personal jurisdiction.

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Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 6 of 11




   Defendants had a pending motion to stay discovery, which plaintiffs had not opposed with respect

   to merits discovery. ECF 162, 197. Despite not opposing, plaintiffs subsequently served merits

   discovery on each Sports and Entertainer Defendant and noticed twelve depositions over a 14-day

   period in July. ECF 213. The Sports and Entertainer Defendants timely objected to these notices.

            The Sports and Entertainer Defendants continue to submit that it would be appropriate for

   discovery to begin with respect to the claims against them only after their motions to dismiss have

   been heard and decided. Plaintiffs’ claims against the Sports and Entertainer Defendants are highly

   novel and—the Sports and Entertainer Defendants believe—legally deficient for many reasons,

   including, inter alia, (1) no Sports and Entertainer Defendant ever sold or offered to sell any

   specific FTX product, a requirement for the securities claims; (2) plaintiffs cannot trace their

   alleged injury to Sports and Entertainer Defendants’ conduct, a requirement for all their claims;

   and (3) plaintiffs have not (and cannot) plead their claims with the particularity required by Rule

   9(b) or even by Rule 8. In addition, the claims cannot proceed in the absence of FTX, a necessary

   party under Rule 19. Plaintiffs’ claims should be tested, and their viability determined, prior to

   discovery. See, e.g., Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1368 (11th Cir. 1997).

   Efficiency is also promoted by briefly delaying discovery because necessary discovery is unlikely

   to be available from FTX or the former FTX employees until after Sam Bankman-Fried’s criminal

   trial, which is set to take place in October 2023.9

            The Sports and Entertainer Defendants anticipate that, once discovery begins, the case as

   to them can proceed on a schedule similar to that outlined in the Sports and Entertainer Defendants’

   prior proposed case schedule, Garrison ECF 192.




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       United States v. Bankman-Fried, 22-cr-00673 (S.D.N.Y) (1/03/2023 Minute Order).

                                                     5
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 7 of 11




   Dated: June 18, 2023                 Respectfully submitted,
                                        COLSON, HICKS, EIDSON, P.A.
                                        255 Alhambra Circle, Penthouse
                                        Coral Gables, Florida 33134
                                        (305) 476-7400
                                        By: /s/ Roberto Martinez
                                         Roberto Martínez
                                         Florida Bar No. 305596
                                           bob@colson.com
                                         Stephanie A. Casey
                                         Florida Bar No. 97483
                                           scasey@colson.com
                                         Zachary Lipshultz
                                         Florida Bar No. 123594
                                           zach@colson.com
                                        Attorneys for Defendants Thomas Brady, Gisele
                                        Bündchen, Lawrence David, Shaquille O’Neal,
                                        Golden State Warriors, LLC and Naomi Osaka
                                        LATHAM & WATKINS LLP
                                          Andrew B. Clubok (pro hac vice)
                                            andrew.clubok@lw.com
                                          Susan E. Engel (pro hac vice)
                                            susan.engel@lw.com
                                          Brittany M.J. Record (pro hac vice)
                                            brittany.record@lw.com
                                        555 Eleventh Street, N.W., Suite 1000
                                        Washington, D.C. 20004-1304
                                        Tel: +1.202.637.2200
                                        Fax: +1.202.637.2201
                                        LATHAM & WATKINS LLP
                                          Marvin S. Putnam (pro hac vice)
                                            marvin.putnam@lw.com
                                          Jessica Stebbins Bina (pro hac vice)
                                            jessica.stebbinsbina@lw.com
                                          Elizabeth A. Greenman (pro hac vice)
                                            elizabeth.greenman@lw.com
                                        10250 Constellation Blvd., Suite 1100
                                        Los Angeles, California 90067
                                        Tel: +1.424.653.5500
                                        Fax: +1.424.653.5501
                                        LATHAM & WATKINS LLP
                                          Michele D. Johnson (pro hac vice)
                                            michele.johnson@lw.com
                                        650 Town Center Drive, 20th Floor
                                        Costa Mesa, California 92626-1925
                                        Tel: +1.714.540.1235
                                        Fax: +1.714.755.8290
                                        Attorneys for Defendants Thomas Brady, Gisele
                                        Bündchen, Lawrence David, and Shaquille
                                        6
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 8 of 11



                                        O’Neal
                                        GIBSON, DUNN & CRUTCHER LLP
                                        Matthew S. Kahn (pro hac vice)
                                          MKahn@gibsondunn.com
                                        Michael J. Kahn (pro hac vice)
                                          MJKahn@gibsondunn.com
                                        555 Mission Street, Suite 3000
                                        San Francisco, CA 94105-0921
                                        Phone: 415.393.8379
                                        Michael Dore (pro hac vice pending)
                                          MDore@gibsondunn.com
                                        Jamila MacEbong (pro hac vice)
                                          JMacEbong@gibsondunn.com
                                        333 South Grand Avenue
                                        Suite 4600
                                        Los Angeles, CA 90071-3197
                                        Phone: 213.229.7155
                                        Attorneys for Defendants Golden State Warriors,
                                        LLC and Naomi Osaka
                                        DIMOND KAPLAN & ROTHSTEIN, P.A.
                                        Offices at Grand Bay Plaza
                                        2665 South Bayshore Drive, PH-2B
                                        Miami, Florida 33133
                                        Telephone:        (305) 374-1920
                                        Facsimile:        (305) 374-1961


                                        By: /s/ David A. Rothstein.
                                        David A. Rothstein, Esq.
                                        Fla. Bar No. 995762
                                          DRothstein@dkrpa.com
                                        Alexander M. Peraza, Esq.
                                        Fla. Bar No. 107044
                                          APeraza@dkrpa.com
                                        Eshaba Jahir-Sharuz, Esq.
                                        Fla. Bar No. 1038846
                                          Eshaba@dkrpa.com
                                        Attorneys for Defendant William Trevor
                                        Lawrence




                                        7
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 9 of 11



                                        MCANGUS GOUDELOCK & COURIE LLC
                                        2000 Market Street, Suite 780
                                        Philadelphia, PA 19103
                                        (484) 406-4334
                                        By: /s/ Eric A. Fitzgerald
                                        Eric A. Fitzgerald (pro hac vice)
                                         eric.fitzgerald@mgclaw.com
                                        Hillary N. Ladov (pro hac vice)
                                         hillary.ladov@mgclaw.com
                                        Attorneys for Defendant William Trevor
                                        Lawrence
                                        AKERMAN LLP
                                        350 East Las Olas Boulevard – Suite 1600
                                        Ft. Lauderdale, FL 33301
                                        Tel.: 954-463-2700
                                        Fax: 954-468-2454
                                        By: /s/ Christopher S. Carver
                                         Christopher S. Carver, Esq.
                                         Florida Bar No. 993580
                                           christopher.carver@akerman.com
                                         Jason S. Oletsky, Esq.
                                         Florida Bar No. 9301
                                           jason.oletsky@akerman.com
                                         Katherine A Johnson, Esq.
                                         Florida Bar No. 1040357
                                           katie.johnson@akerman.com
                                        Attorneys for Defendants Udonis Haslem and
                                        David Ortiz
                                        WEIL, GOTSHAL & MANGES LLP

                                        By: /s/ Edward Soto
                                        Edward Soto (FBN 0265144)
                                          edward.soto@weil.com
                                        1395 Brickell Avenue, Suite 1200
                                        Miami, FL 33131-3368
                                        Tel.: (305)-577-3100
                                        Attorney for Defendant Shohei Ohtani
                                        McDERMOTT WILL & EMERY LLP
                                        333 SE 2nd Ave., Suite 4500
                                        Miami, Florida 33131
                                        Telephone: (212) 547-5768
                                        Facsimile: (305) 347-6500
                                        By: /s/ Nathan Bull
                                           Nathan Bull (Fla. Bar No. 1029523)
                                              nbull@mwe.com
                                        8
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 10 of 11



                                         McDERMOTT WILL & EMERY LLP
                                           Jason D. Strabo (pro hac vice pending)
                                             jstrabo@mwe.com
                                           Ellie Hourizadeh (to file pro hac vice)
                                             ehourizadeh@mwe.com
                                         2049 Century Park East, Suite 3200
                                         Los Angeles, CA 90067
                                         Telephone: (310) 788-4125
                                         Facsimile: (310) 277-4730
                                         McDERMOTT WILL & EMERY LLP
                                           Sarah P. Hogarth (pro hac vice pending)
                                            shogarth@mwe.com
                                         500 North Capitol Street NW
                                         Washington, DC 20001
                                         Telephone: (202) 756-8354
                                         Facsimile: (202) 756-8087
                                         Attorneys for Defendant Stephen Curry
                                         MARCUS NEIMAN RASHBAUM
                                         & PINEIRO LLP
                                         100 Southeast Third Avenue, Suite 805
                                         Fort Lauderdale, Florida 33394
                                         Tel: (954) 462-1200
                                         2 South Biscayne Blvd., Suite 2530
                                         Miami, Florida 33131
                                         Tel: (305)-400-4260
                                         By: /s/ Jeffrey Neiman
                                         Jeffrey Neiman
                                         Fla Bar. No. 544469
                                           jneiman@mnrlawfirm.com
                                         Jeffrey Marcus
                                         Fla. Bar No. 310890
                                           jmarcus@mnrlawfirm.com
                                         Michael Pineiro
                                         Fla. Bar No. 041897
                                           mpineiro@mnrlawfirm.com
                                         Brandon Floch
                                         Fla. Bar No. 125218
                                           bfloch@mnrlawfirm.com
                                         BERK BRETTLER LLP
                                         9119 Sunset Boulevard
                                         West Hollywood, CA 90069
                                         Tel.: (310) 278-2111
                                         Andrew B. Brettler (pro hac vice)
                                           abrettler@berkbrettler.com
                                         Attorneys for Defendant Kevin O’Leary and
                                         Solomid Corporation d/b/a Team Solomid, TSM
                                         and/or TSM FTX
                                        9
Case 1:23-md-03076-KMM Document 46 Entered on FLSD Docket 06/18/2023 Page 11 of 11




                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on June 18, 2023, a true and correct copy of the foregoing was
   filed electronically with the Clerk of the Court, by using the CM/ECF system, causing a true and
   correct copy to be served on all counsel of record.

                                               By: /s/ Roberto Martinez
                                                  Roberto Martínez




                                                 10
